Case 3:19-cv-00931-BRM-TJB         Document 48        Filed 03/13/19     Page 1 of 1 PageID: 414



                             UNITED STATES DISTRICT COURT
                              THE DISTRICT OF NEW JERSEY


  GRIFFIN CAPITAL COMPANY, LLC,                       Civil Action No.3:1 9-cv-0093 1 -BRM-TJB

                Plaintiff,
  V.



  ESSENTIAL PROPERTIES REALTY                    :



  TRUST, iNC.,                                              ORDER OF SUBSITUTION
                                                 :              OF PLAINTIFF
                Defendant.




        Plaintiff Griffin Capital Company, LLC having filed a motion to substitute Griffin

 Capital Essential Asset Operating Partnership, L.P. as plaintiff (Dkt. 28); and Defendant

 Essential Properties Realty Trust, Inc. having no objection to the motion to substitute; and for

 good cause shown:


        IT IS on this            day of March, 2019


        ORDERED that Griffin Capital Essential Asset Operating Partnership, L.P. is hereby

 substituted as the Plaintiff in the above-captioned action in place of Griffin Capital Company,

 LLC.



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                                              HON. TONIANNE J. BONGIOVANNI, U.S.M.J.
